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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR05-215-MJP
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
11   PATRICK SCOTT BRACKETT,              )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14          An evidentiary hearing on supervised release revocation in this case was scheduled before

15 me on May 8, 2007. The United States was represented by AUSA Adam Cornell and the

16 defendant by Stewart P. Riley. The proceedings were digitally recorded.

17          Defendant had been sentenced on or about January 12, 2006 by the Honorable Marsha J.

18 Pechman on a charge of Conspiracy to Commit Bank Fraud, and sentenced to 8 months custody,

19 5 years supervised release.

20          The conditions of supervised release included the standard conditions plus the requirements

21 that defendant participate in drug dependency treatment and testing, abstain from alcohol, submit

22 to search, participate in a mental health program, provide access to financial information, maintain

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 a single checking account for all financial transactions, not possess identification in any but

02 defendant’s true name, reside in a community corrections center for up to 180 days, and

03 participate in AA/NA meeting while residing at the CCC. (Dkt.109.)

04          On June 19, 2006, defendant admitted to violating the conditions of supervised release by

05 failing to successfully complete the community corrections center placement. (Dkt. 127.)

06 Defendant was sentenced to forty-six days in custody with credit for time served, and 58 months

07 of supervised release. Defendant was ordered to participate in daily AA/NA meetings unless

08 directed otherwise by his probation officer (Dkt. 130.)

09          In an application dated December 7, 2006 (Dkt.132), U.S. Probation Officer Jerrod Akins

10 alleged the following violations of the conditions of supervised release:

11          1.     Failing to report as instructed by the probation officer, in violation of standard

12 condition No. 2.

13          2.     Failing to report for drug testing on November 13 and November 20, 2006 in

14 violation of special condition No. 1.

15          Defendant was advised in full as to those charges and as to his constitutional rights.

16          Defendant admitted the alleged violations and waived any evidentiary hearing as to

17 whether they occurred.

18          I therefore recommend the Court find defendant violated his supervised release as alleged,

19 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

20 set before Judge Pechman.

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01          Pending a final determination by the Court, defendant has been detained.

02          DATED this 8th day of May, 2007.



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04                                               Mary Alice Theiler
                                                 United States Magistrate Judge
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06
     cc:    District Judge:               Honorable Marsha J. Pechman
07          AUSA:                         Adam Cornell, Janet Freeman
            Defendant’s attorney:         Stewart P. Riley
08          Probation officer:            Jerrod Akins

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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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